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                                                                               U.S. DISTRICT COURT
                                                                                   N.D. OF ALABAMA


                IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ALABAMA
                         SOUTHERN DIVISION

MARSHA ANDERSON, et al.,              )
                                      )
             Plaintiffs,              )
                                      )
      v.                              )     Civil Action No. 2:15-cv-02045
                                      )
UNITED STATES PIPE AND                )
FOUNDRY COMPANY, LLC and              )
MUELLER WATER PRODUCTS,               )
INC.,                                 )
                                      )
             Defendants.              )

                           FIRST AMENDED COMPLAINT

      COME NOW the Plaintiffs (both named in the above style, and as listed on

“Exhibit 1”), by and through their undersigned counsel, and file this complaint and

state as follows:

                            NATURE OF COMPLAINT

      1.     This is a civil action for equitable relief, compensatory and punitive

damages, costs incurred and to be incurred by Plaintiffs, and any other damages

which the Court or jury may deem appropriate for personal injury arising from the

intentional, knowing, reckless, and negligent acts and omissions of United States

Pipe and Foundry Company, LLC and Mueller Water Products, Inc. (hereinafter

referred to as “U.S. Pipe” or “Defendants”) in connection with contamination of

the residential areas surrounding their North Birmingham plant located at or
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around 3000 30th Avenue North, Birmingham, Alabama 35207 (hereinafter

referred to as “the Plant”) in which Plaintiffs lived, worked, and/or frequented.

                         PARTIES AND JURISDICTION

      2.     Plaintiff, Marsha Anderson, is over 19 years of age and is a citizen

and resident of Jefferson County, Alabama. Attached hereto as “Exhibit 1” are

additional Plaintiffs who bring the present suit. Said Plaintiffs are over 19 years of

age, and their respective residency is listed on “Exhibit 1”. All such Plaintiffs are

incorporated herein as if named in the above-style, and collectively will be referred

to as “Plaintiffs” hereafter.

      3.     Defendant, United States Pipe and Foundry Company, LLC, is, upon

information and belief, an Alabama limited liability company with its principal

place of business located in Birmingham, AL. This Defendant may be lawfully

served with the summons and a copy of this Complaint upon its registered agent:

CSC Lawyers Incorporating Service, Inc., 150 South Perry Street, Montgomery,

Alabama, 36104.

      4.     Defendant, Mueller Water Products, Inc., is, upon information and

belief, a Delaware corporation with its principal place of business located in

Atlanta, Georgia. This Defendant may be lawfully served with the summons and a

copy of this Complaint upon its registered agent: The Corporation Trust Company,

Corporation Trust Center, 1209 Orange Street, Wilmington, Delaware 19801.
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      5.     The Defendants are subject to the jurisdiction of this Honorable Court

on the grounds (a) that one or more of the Defendants is a domestic corporation

organized and existing under the laws of the State of Alabama and (b) that one or

more of the Defendants is a foreign corporation that either are registered to conduct

business in the State of Alabama or that actually transacted business in Alabama or

that are successors of such corporations.

      6.     Venue is proper in this Honorable Court because the cause of action

arose in Jefferson County, Alabama.

                             BACKGROUND FACTS

Defendants’ Corporate History

      7.     This   action   concerns   the   Defendants’    pollution   of   certain

neighborhoods with toxic substances including, but not limited to, lead, arsenic,

benzene, xylenes, beryllium, volatile organic compounds (hereinafter known as

“VOCs”), and other hazardous substances and waste materials (hereinafter

collectively known as “the Contaminants”).           These Contaminants had an

immediate and/or permanent adverse effect upon human health and the natural

environment in which the Plaintiffs lived, worked, and/or frequented.

      8.     The Plant began operating in 1901 as a ductile iron foundry owned by

The Dimmick Pipe Company. The Plant casted and sold iron pipes in sizes

ranging from 4-24 inches with initial production coming from four pits at a rate of
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150-175 tons per day. This process utilized cupola furnaces to melt the metal

which was then cast in pipe molds.

      9.     The original U.S. Pipe, United States Cast Iron Pipe and Foundry

Company, was incorporated in 1899, and it purchased the Plant from Dimmick in

1911. A few years later, a second shop was added on, producing 30-60 inch pipes

at a rate of 125 tons per day.

      10.    In the 1920’s, the Plant integrated a new pipe production process

known as centrifugal casting, which consisted of introducing molten iron into a

rapidly rotating steel mold, allowing for mass production of a superior quality pipe.

The facilities at the Plant eventually consisted of the foundry, a landfill for the

disposal of solid wastes, several treatment ponds, and pipe storage yards.

      11.    In 1969, the Jim Walter Corporation of Tampa, Florida acquired the

Plant. After a recapitalization in 1995, the company was listed on the New York

Stock Exchange as Walter Industries, Inc.

      12.    By the 1990’s, annual production had hit a peak in the range of

190,000-220,000 tons, which was sustained through the early 2000’s. Operations

slowed down with the economy in 2008 as the company’s workforce at the Plant

was reduced by a third.

      13.    In 2005, Walter Industries acquired Mueller Water Products, Inc., and

in 2006, United States Pipe and Foundry Company, LLC and Mueller Water
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Products, Inc. were both spun off into a newly publicly traded company called

Mueller Water Products, Inc.           Upon information and belief, Mueller Water

Products, Inc. acquired many of the environmental liabilities associated with both

past and ongoing operations of the Plant as a part of this transaction, including at

least partial liability for the Releases alleged in this Complaint.

       14.    Upon information and belief and at all times relevant herein, United

States Pipe and Foundry Company, LLC was directly responsible for the ongoing

operation of the Plant or was the direct continuation and successor entity of the

prior entities that operated the Plant.

       15.    Operations permanently ceased in 2010, and the Plant itself was

demolished in April 2012 shortly after Mueller Water Products completed the sale

of United States Pipe and Foundry Company, LLC to USP Holdings, Inc. Upon

information and belief, the sale of the North Birmingham plant did not remove all

of the liabilities associated with the Mueller defendant.

Defendants’ Operations and Toxic Emissions

       16.    The Defendants’ operated a cupola melting furnace at the Plant. This

type of furnace typically burned coke to melt iron scrap used for casting pipes.

Once molten, the iron would be treated with various chemicals to convert the

brittle cast iron into ductile iron.
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        17.    Cupola melting furnaces produce a collection of particulate emissions,

some of which are captured and disposed of as solid and/or liquid wastes through

landfills and wastewater ponds on site and some of which escaped into the air.

        18.    Once the molten iron was treated, it was poured into a cast with a bell

on it to facilitate the use of gasketed joints during subsequent laying of the

pipeline. A molded sand core was used to form the interior contour of the bell.

Organic waste materials are emitted during both the process of making the sand

core and its subsequent contact with the molten metal.

        19.    Once the pipe has been cast, the exterior surfaces of the pipe were

often painted and/or treated with a substance containing VOCs, some of which

escape into the air and others that are disposed of as solid and/or liquid waste on

site.

        20.    As a result of the Defendants’ operations from 1911 through 2010,

including but not limited to those described above, Defendants emitted, discharged,

disposed of and/or deposited various waste products, including but not limited to

the Contaminants and other hazardous substances and waste materials described

above, in the neighborhoods surrounding the Plant (hereinafter known as the

“Releases”).

        21.    Additionally, the Defendants’ conduct and practices allowed the

Contaminants to migrate to and/or become located in the surrounding
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neighborhoods through emissions in the air and/or flow from surface water, ground

water, or discharge into waterways and ground soil.

      22.    These neighborhoods affected by the Defendants’ operations include

the neighborhoods of Collegeville, North Birmingham, Fairmont, Harriman Park,

and other surrounding areas (“hereinafter known as “the Neighborhoods”).

      23.    The Contaminants deposited and/or released by the Defendants’ have

remained in the Neighborhoods from the time they first arrived on the premises

until the present time. Although the Plant ceased operations in the area in 2010,

the effects of their operations are still present in the Neighborhoods and exposure

continues to this day.

      24.    All of the Contaminants are considered to be harmful to human health

by the United States Environmental Protection Agency (hereinafter known as

“USEPA”).

      25.    Lead is a naturally occurring bluish-gray metal found in small

quantities in the earth’s crust that is used in large quantities in the manufacturing of

the type of pipes made by the Plant.

      26.    Lead is a bioretentive substance in the sense that it is retained in the

blood and/or tissues of living organisms, including humans, exposed to the

chemical over time.
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        27.   Lead is a bioaccumulative substance in the sense that the levels of the

chemical will build up and/or accumulate to higher levels in the blood, tissues,

and/or bones of living organisms, including humans, exposed to the chemical over

time.

        28.   Lead is a biopersistent substance in the sense that the chemical will

tend to remain present over time in environmental media where it is released

and/or comes to be located.

        29.   The USEPA has classified lead as a probable human carcinogen and

has identified a link between lead and numerous cancerous and non-cancerous

health conditions.

        30.   Lead is a hazardous substance, hazardous waste, solid waste, toxin,

carcinogen, pollutant, and/or contaminant.

        31.   Arsenic is a naturally occurring metal that is a waste product of

heating many different types of minerals and ores, such as those used at the Plant.

        32.   The USEPA has classified arsenic as a known human carcinogen and

has identified a link between arsenic and numerous cancerous and non-cancerous

health conditions.

        33.   Arsenic is a hazardous substance, hazardous waste, solid waste, toxin,

carcinogen, pollutant, and/or contaminant.
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      34.    Beryllium is a hard gray metal that does not occur naturally.

Beryllium is used in the manufacturing process of numerous different products,

including the manufacturing processes taking place at the Plant.

      35.    The USEPA has classified beryllium as a probable human carcinogen

and has identified a link between beryllium and numerous cancerous and non-

cancerous health conditions.

      36.    Beryllium is a hazardous substance, hazardous waste, solid waste,

toxin, carcinogen, pollutant, and/or contaminant.

      37.    Benzene is a waste product found in the emissions from processes

including, but not limited to, the burning of coal and/or oil based products.

      38.    The USEPA has classified benzene as a known human carcinogen and

has identified a link between benzene and numerous cancerous and non-cancerous

health conditions.

      39.    Benzene is a hazardous substance, hazardous waste, solid waste,

toxin, carcinogen, pollutant, and/or contaminant.

      40.    Xylenes are chemical compounds often used in industrial solvents.

Xylenes have the potential to be released in either the air or groundwater coming

from an industrial site if proper care is not taken.

      41.    The USEPA has identified a link between xylenes and numerous

human health conditions.
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         42.   Xylenes are a hazardous substance, hazardous waste, solid waste,

toxin, carcinogen, pollutant, and/or contaminant.

         43.   Defendants emitted the Contaminants into the air from the Plant into

the surrounding environment.

         44.   Defendants released the Contaminants into the groundwater from the

Plant.

         45.   Defendants knew of their emissions of the Contaminants for years

without disclosing this information to residents of the Neighborhoods.

         46.   Since no later than 1985, the Plant has been subject to inspections by

regulatory authorities that test for emissions of waste products, specifically

including but not limited to lead.

         47.   Just since 1985, the Plant has been cited in excess of 100 times for

citations or violations of state and federal environmental regulations for their

operation of the Plant. At least one such violation directly resulted from the

release of excess lead in wastewater flowing from the Plant.

         48.   Because of these inspections and citations, the Defendants knew or

should have known years ago of the harmful effects of releasing emissions such as

the Contaminants and/or lead.

         49.   In 2012, the USEPA began investigating U.S. Pipe as part of the

USEPA’s ongoing project at the 35th Avenue Superfund Site (hereinafter known as
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the “Site”). In September 2013, defendants were named as “potentially responsible

part(ies)” for cleanup activities that would take place within the Superfund Site

which includes significant parts of the Neighborhoods described herein.

      50.     Relevant medical literature and/or scientific research support a link

between the Contaminants and the following human blood related illnesses and/or

conditions:    1) anemia, 2) hypochromic anemia, 3) microcytic anemia, 4)

Myelodysplastic syndrome, and 5) poor blood flow.

      51.     Relevant medical literature and/or scientific research support a link

between the Contaminants and the following human cancers: 1) cervical cancer, 2)

colon cancer, 3) esophageal cancer, 4) Hodgkin’s lymphoma, 5) kidney cancer, 6)

leukemia, 7) liver cancer, 8) lung cancer, 9) lymphoma, 10) melanoma, 11) nasal

cancer, 12) ovarian cancer, 13) stomach cancer, and 14) throat cancer.

      52.     Relevant medical literature and/or scientific research support a link

between the Contaminants and the following human cardiovascular illnesses and/or

conditions:    1) atherosclerosis, 2) cardiomyopathy, 3) heart attack, and 4)

peripheral vascular disease.

      53.     Relevant medical literature and/or scientific research support a link

between the Contaminants and the following human kidney related illnesses and/or

conditions: 1) kidney problems, 2) kidney disease, 3) kidney stones, and 4) end

stage renal disease.
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      54.    Relevant medical literature and/or scientific research support a link

between the Contaminants and the following human neurological disorders and/or

conditions: 1) attention deficit disorder/ attention deficit hyperactivity disorder, 2)

behavioral problems, 3) decreased coordination, 4) disequilibrium, 5) decreased

IQ, 6) developmental delays, 7) learning disabilities, 8) mental retardation, 9)

seizures, and 10) epilepsy.

      55.    Relevant medical literature and/or scientific research support a link

between the Contaminants and the following human illnesses and/or conditions

related to circulation and/or sensation: 1) numbness of the arms, 2) numbness of

the legs, 3) numbness of the hands, 4) numbness of the feet, 5) numbness of the

toes, 6) neuropathy, and 7) gout.

      56.    Relevant medical literature and/or scientific research support a link

between the Contaminants and the following disorders and/or conditions related to

human pregnancy and/or reproduction: 1) congenital bronchial cleft crest birth

defects, 2) infantile gastroesophageal reflux, 3) infantile laryngomalacia, 4)

delayed growth, 5) miscarriage, and 6) menstrual disorders.

      57.    Relevant medical literature and/or scientific research support a link

between the Contaminants and the following human respiratory illnesses and/or

conditions: 1) aspergillus, 2) asthma, 3) chronic bronchitis, 4) chronic obstructive
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pulmonary disease, 5) emphysema, 6) hypersensitivity, 7) mesothelioma, and 8)

sarcoidosis.

        58.    Relevant medical literature and/or scientific research support a link

between the Contaminants and the following human skin disorders and/or

conditions: 1) hyper-pigmentation, 2) hyperkeratosis, 3) rashes, and 4) blisters on

feet.

        59.    Relevant medical literature and/or scientific research support a link

between the Contaminants and the following other human disorders and/or

conditions:     1) hearing loss, 2) vision loss, 3) no sense of smell, and 4)

autoimmune disorders.

        60.    All of the human illnesses and/or conditions and/or disorders

contained in the foregoing paragraphs 50 through 59 are hereinafter known as the

“Linked Diseases.”

The Defendants’ Misconduct

        61.    Defendants at all times relevant to this complaint knew, or in the

exercise of ordinary care should have known, that the Releases from the Plant were

poisonous and harmful to human beings.

        62.    Defendants at all times relevant to this complaint knew, or in the

exercise of ordinary care should have known, that once released into the
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environment, these Releases from the Plant posed a serious health hazard to

humans and would cause injury and potential death to those exposed.

      63.    Knowing of their danger, Defendants nevertheless continued to

release the Contaminants into the surrounding environment, including the

Neighborhoods.

      64.    Defendants failed to timely and adequately warn the Plaintiffs and

others of the toxic exposure from the Releases and the corresponding dangers to

their health and safety.

      65.    Defendants specifically disregarded the safety of the Plaintiffs and

others by fraudulently concealing the nature of their emissions into the

environment.

      66.    The Contaminants released into the environment contaminated and

continue to contaminate the air, soil, sediment, and ground water in the

surrounding area, including the Neighborhoods.

      67.    The actions of the Defendants and their employees, agents, officers,

and representatives, were negligent, reckless, willful, and wanton, and constitute a

disregard for the health and safety of those living, working, or visiting in the

surrounding area.

      68.    The aforementioned operations and conduct by the Defendants

constituted violations of laws intended to protect Plaintiffs and others similarly
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situated from the effects of the Releases including, but not limited to, the following

laws:

                   (a)     THE RESOURCE CONSERVATION AND RECOVERY ACT, 42 U.S.C.

                           §§ 6901, et seq. (1976), as amended, as described in 40 CFR

                           Parts 239-282 and in ADEM 1 Admin. Code R. 335-13 and 335

                           – 14 (hereinafter “RCRA”).

                   (b)     THE         COMPREHENSIVE               ENVIRONMENTAL           RESPONSE

                           COMPENSATION AND LIABILITY ACT, 42 U.S.C. §§ 9601, et seq.

                           (1980), as amended, as described in 40 CFR Parts 370 – 374

                           (hereinafter “CERCLA”).

                   (c)     SUPERFUND AMENDMENT AND REAUTHORIZATION ACT OF 1986,

                           Pub. L. No. 99-499 (codified as amended in scattered sections

                           of the UNITED STATES CODE), as described in 40 CFR Parts 370

                           – 274 (hereinafter “SARA”).                  This legislation reauthorized

                           CERLA to continue cleanup activities around the country.

                   (d)     THE EMERGENCY PLANNING COMMUNITY RIGHT TO KNOW ACT,

                           42 U.S.C. §§ 11001, et seq. (1986), as amended, as described in

                           40 CFR Part 370. Also known as Title III of SARA, this




1
    “ADEM” refers to the Alabama Department of Environmental Quality.
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                         legislation was enacted to help local communities protect public

                         health, safety, and the environment from chemical hazards.

                (e)      OSHA 2 Hazardous Waste Operations and Emergency Response

                         Standard, which applies to all facilities and situations in which

                         workers are exposed to physical or chemical hazards during

                         activities such as cleaning up hazardous waste sites or

                         responding to emergencies involving releases of hazardous

                         materials or wastes under CERCLA or RCRA, as described in

                         29 CFR §§ 1910.120 and 1926.65.

                (f)      THE CLEAN AIR ACT, 42 U.S.C. §§ 7401, et seq. (1970), as

                         amended, as described in 40 CFR Parts 50 – 97, and in ADEM

                         Admin. Code R. 335-3 and in the JCDH-APCP 3 Rules and

                         Regulations.

                (g)      THE CLEAN WATER ACT, 33 USCS §§ 1251, et seq. (1972), as

                         amended, as described in 40 CFR Parts 100 – 149 and in

                         ADEM Admin. Code R. 335-6.

                (h)      THE SOLID WASTE DISPOSAL ACT, 42 USCS §§ 6901 et seq.

                (i)      THE ALABAMA AIR POLLUTION CONTROL ACT OF 1971, CODE OF

                         ALABAMA §§ 22-28-1, et seq.
2
 “OSHA” refers to the Occupational Safety and Health Administration.
3
 “JCDH-APCP” refers to the State of Alabama Jefferson County Department of Health Air Pollution Control
Program.
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     (j)   THE ALABAMA HAZARDOUS WASTES MANAGEMENT                   AND

           MINIMIZATION ACT, CODE OF ALABAMA §§ 22-30-1, et seq.

     (k)   THE ALABAMA SOLID WASTES DISPOSAL ACT, CODE                OF

           ALABAMA §§ 22-27-1, et seq.

     (l)   THE ALABAMA ENVIRONMENTAL MANAGEMENT ACT, CODE             OF

           ALABAMA §§ 22-22A-1, et seq.

     (m)   THE ALABAMA WATER POLLUTION CONTROL ACT, CODE              OF

           ALABAMA §§ 22-22-1, et seq.

     (n)   THE ALABAMA UNDERGROUND STORAGE TANK AND WELLHEAD

           PROTECTION ACT   OF   1988, CODE   OF   ALABAMA §§ 22-36-1, et

           seq.

     (o)   ADEM Regulation 335-3-3-.05(19)(c).

     (p)   ADEM Regulation 335-3-4-.02(1) and (2).

     (q)   ADEM Regulation 335-3-14-.01(1)(b).

     (r)   ADEM Regulation 335-14-5.

     (s)   ADEM Regulation 335-14-7-.08.

     (t)   ADEM Regulation 335-14-7-.08, subpart H.

     (u)   ADEM Regulation 335-14-X.
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      69.    The actions of Defendants in violating the foregoing laws and

regulations constitute violations of duties imposed by laws intended to prevent

harm to the Plaintiff and other similarly situated people.

Plaintiffs’ Injuries

      70.    For some period of time between 1995 and 2010, when the Plant

ceased its operations, each of the Plaintiffs lived, worked, and/or frequented one or

more locations within the Neighborhoods and were exposed to toxicologically

significant levels of the Contaminants released from the Plant.

      71.    Because of this exposure to the Contaminants from Defendants’ North

Birmingham plant, each Plaintiff has sustained significant injuries and damages,

including but not limited to one or more of the Linked Diseases.

                         COUNT ONE – NEGLIGENCE

      72.    The Plaintiffs adopt and incorporate by reference all the foregoing

language of this Complaint as if fully set forth herein and further state as follows.

      73.    The Defendants had a duty to operate and manage the Plant in such a

way as to not create a nuisance or condition causing any injury or damage to

human health or to the environment.

      74.    The Defendants breached this duty of care by negligently operating

and/or managing the Plant and/or conducting other operations and activities at the

Plant in such a manner as to negligently cause, permit, and/or allow the Releases,
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thereby contaminating the air and/or water and/or soil in the Neighborhoods and

the blood/body of the Plaintiffs.

       75.   As a direct, proximate, and foreseeable result of the Defendants’

continuous conduct, practices, and inactions, the Plaintiffs have been caused to

suffer, and will continue to suffer, damages resulting from Plaintiffs’ personal

injuries.

                        COUNT TWO – WANTONNESS

       76.   The Plaintiffs adopt and incorporate by reference all the foregoing

language of this Complaint as if fully set forth herein and further state as follows.

       77.   In breaching the duties described above, the Defendants acted in a

wanton, willful, and reckless manner.

       78.   The Defendants knew or should have known the danger to Plaintiffs

created by Defendants’ conduct, practices, actions, and inactions.

       79.   The Defendants knew or should have known of the likely or probable

impact, harm, damage, and injury their conduct, practices, actions, and inactions

would have on and/or cause Plaintiffs.

       80.   The    Defendants’ conduct, practices, and          inactions   evidence

Defendants’ reckless disregard for the Plaintiffs’ health and safety.
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      81.    As a direct, proximate, and foreseeable result of the Defendants’

continuous conduct, practices, actions, and inactions, the Plaintiffs have been

caused to suffer, and will continue to suffer, damages to each Plaintiffs’ health.

                  COUNT THREE – NEGLIGENCE PER SE

      82.    Plaintiffs adopt and incorporate by reference all the foregoing

language of this Complaint as if fully set forth herein and further state as follows.

      83.    By its acts and omissions resulting in the Releases, Defendants

violated one or more applicable United States and Alabama regulations and

statutes designed to protect persons such as the Plaintiffs, constituting negligence

per se, including liability for injuries described herein to the Plaintiffs, other

exposed individuals, and the public at large associated with the Releases.

      84.    Defendants’ violation of law proximately caused and continues to

proximately cause damage to the Plaintiffs, other exposed individuals, and the

public at large in the form of bodily injury for which the Defendants are liable.

                    COUNT FOUR – PUNITIVE DAMAGES

      85.    Plaintiffs adopt and incorporate by reference all the foregoing

language of this Complaint as if fully set forth herein and further state as follows.

      86.    The Defendants’ acts and omissions as described above were

conducted with such intentional, malicious, wanton, willful, grossly negligent,
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and/or reckless indifference to the rights of Plaintiffs, other exposed individuals,

and the public at large that the Defendants are liable for punitive damages.

      87.      The Defendants’ acts and omissions as described above were

conducted with such flagrant disregard for the safety and wellbeing of Plaintiffs,

other exposed individuals, and the public at large that the Defendants are liable for

punitive damages.

                             PRAYER FOR RELIEF

      WHEREFORE, the Plaintiffs demand judgment against the Defendants,

separately and severally, for compensatory damages, special damages, exemplary

damages, punitive damages, and all such other damages to which the Plaintiffs

may be entitled under Alabama law; and for all such other relief to which Plaintiffs

may be entitled under Alabama law. Plaintiffs demand a trial of this action by

struck jury.

      Respectfully submitted this 28th day of April 2017,

                                /s/ Jon C. Conlin
                                Jon C. Conlin (asb-7024-j66c)
                                R. Andrew Jones (asb-0096-i11r)
                                Richard A. Wright (asb-6877-d57w)
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                         CERTIFICATE OF SERVICE

      I hereby certify that on April 28, 2017 a copy of the foregoing First

Amended Complaint was filed electronically. Notice of this filing will be sent to

all parties by operation of the Court’s electronic filing system. Parties may access

this filing through the Court’s system.


                                /s/ Jon C. Conlin
                                Jon C. Conlin (asb-7024-j66c)
                                R. Andrew Jones (asb-0096-i11r)
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